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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
In re:
                                                              Chapter 11
OWEN & FRED CORP.                                             Case No. 18-43534
d/b/a Boarding Pass NYC,

                                    Debtor.
----------------------------------------------------------X

         APPLICATION TO EMPLOY AND RETAIN DELBELLO DONNELLAN
          WEINGARTEN WISE & WIEDERKEHR, LLP AS ATTORNEYS FOR
           THE DEBTOR, NUNC PRO TUNC AS OF THE PETITION DATE

TO:     THE HONORABLE ____________,
        UNITED STATES BANKRUPTCY JUDGE

        Owen & Fred Corp., the above-captioned debtor and debtor-in-possession (the “Debtor”),

by its president, Michael Arnot, files this Application (the “Application”) seeking entry of an

order authorizing the Debtor’s retention of DelBello Donnellan Weingarten Wise & Wiederkehr,

LLP (“DDWWW”) as its attorneys. In support of its Application, the Debtor respectfully sets

forth as follows:

                                                  Jurisdiction

        1.       This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.       The statutory basis for relief requested herein is § 327(a) of title 11 of the United
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States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) and Rules 2014(a) and 6003 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                           Background

       3.      On June 19, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of the Bankruptcy Code.

       4.      The Debtor has continued in possession of its property and the management of its

business affairs as a debtor-in-possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy

Code. No trustee, examiner or statutory committee has been heretofore appointed in this

proceeding.

       5.      The Debtor sells lifestyle luggage and accessories in 600+ retail stores worldwide

and online at its website www.boardingpassnyc.com. The Debtor’s products are all

manufactured with hand-made quality in the United States. The company has been widely

featured in the media.

                                        Relief Requested

       6.      The Debtor seeks to retain DDWWW as its attorneys to file and prosecute its

Chapter 11 case and all related matters, effective as of the Petition Date. Accordingly, the

Debtor requests entry of an order in substantially the form annexed hereto and pursuant to

Bankruptcy Code § 327(a) and Bankruptcy Rule 2014(a) authorizing the Debtor to employ and

retain DDWWW as its attorneys to perform services necessary in these Chapter 11 cases.

       7.      The professional services DDWWW will render to the Debtor include the

following:

               a.        To give advice to the Debtor with respect to its powers and duties as
                         Debtor-in-Possession and the continued management of its property and
                         affairs.

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               b.      To negotiate with creditors of the Debtor and work out a plan of
                       reorganization and take the necessary legal steps in order to effectuate
                       such a plan including, if need be, negotiations with the creditors and other
                       parties in interest.

               c.      To prepare the necessary answers, orders, reports and other legal papers
                       required for the Debtor’s protection from their creditors under Chapter 11
                       of the Bankruptcy Code.

               d.      To appear before the Bankruptcy Court to protect the interest of the Debtor
                       and to represent the Debtor in all matters pending before the Court.

               e.      To attend meetings and negotiate with representatives of creditors and
                       other parties in interest.

               f.      To advise the Debtor in connection with any potential sale of the
                       businesses.

               g.      To represent the Debtor in connection with obtaining post-petition
                       financing, if necessary.

               h.      To take any necessary action to obtain approval of a disclosure
                       statement(s) and confirmation of a plan(s) of reorganization.

               i.      To perform all other legal services for the Debtor which may be necessary
                       for the preservation of the Debtor’s estate and to promote the best interests
                       of the Debtor, its creditors and its estate.

       8.      The Debtor has selected DDWWW for the reason that DDWWW’s attorneys have

had extensive experience representing debtors in proceedings before this Court and are well

suited to represent the Debtor in the instant proceedings. DDWWW has been actively involved

in many Chapter 11 cases and has represented many Chapter 11 Debtors.

       9.      It is necessary for the Debtor to employ DDWWW for such professional services

pursuant to § 327 of the Bankruptcy Code.

       10.     To the best of the Debtor’s knowledge, DDWWW has no connection with the

creditors or any other party in interest or its attorneys, except that it represents the Debtor in these


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proceedings as stated in the annexed affidavit of Dawn Kirby, Esq. (the “Kirby Affidavit”),

which is annexed hereto as Exhibit “A”.

       11.     Subject to Court approval, compensation will be paid to DDWWW for services

provided on an hourly basis plus reimbursement of actual, necessary expenses incurred.

DDWWW Bankruptcy Practice Group’s 2017 hourly rates for matters related to these Chapter 11

proceedings are as follows:

               Attorneys              $375 to $620
               Paraprofessionals      $150.00

       12.     The hourly rates above are subject to periodic adjustment to reflect economic and

other conditions.   The hourly rates above are standard, if not below standard rates for work of

this nature. These rates are designed to fairly compensate DDWWW for the work of its attorneys

and paralegals and to cover fixed routine overhead expenses.

       13.     DDWWW did not receive a retainer.

       14.     To the best of the Debtor’s knowledge, DDWWW does not hold or represent any

interest adverse to the Debtor’s estate, DDWWW is a “disinterested person” as defined in

Bankruptcy Code §101(14), and DDWWW’s employment is necessary and in the best interest of

the Debtor and their estates.

       15.     DDWWW will be paid for the legal services rendered upon application duly filed

with this Court pursuant to Bankruptcy Code § 330.

       16.     The Debtor desires to employ DDWWW pursuant to Bankruptcy Code § 327

because of the extensive legal services, which are required and indeed are anticipated for a

successful reorganization under Chapter 11 of the Bankruptcy Code.




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       WHEREFORE, the Debtor respectfully requests entry of the Order annexed hereto as

Exhibit “B” authorizing them to employ and appoint DelBello Donnellan Weingarten Wise &

Wiederkehr, LLP to represent it in these proceedings under Chapter 11 of the Bankruptcy Code,

nunc pro tunc, as of the Petition Date, together with such other and further relief as appears just

to this Court, for all of which no previous application has been made.

Dated: New York, New York
       June 19, 2018
                                                      OWEN & FRED CORP.
                                                      d/b/a Boarding Pass NYC

                                                            /s/ Michael Arnot
                                                      By:__________________________
                                                        Michael Arnot, President




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